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James Douglas Rahm III

Why I Went to DC on Jan 6th and What Happened That Day



       I had no plans on going to DC on January 6th but my father decided he
was going to still go alone and I felt bad letting him go by myself. I knew
there would be very large crowds and some unpredictability so I decided to
join him after he repeatedly asked if I would. Another thing that interested
me was filming the event because I heard rumors that a historic amount of
people were heading to DC. I am always capturing events in my life or
anything I find interesting to share with the world. I had recently bought a
new GoPro video recorder and I thought this would be a good opportunity to
try to film something viral. I had seen tons of videos go viral of politically
fueled fights which seemed like battle scenes in city streets, usually between
organizations like Proud Boys and Antifa. I was almost certain that something
like this was bound to happen on Jan 6th with the amount of people that
were ascending to our country’s capital. With that in mind I agreed to join my
father on the night of Jan 4th and we left for DC the next day because he
booked a hotel room for the night of the 5th. We never did see any of these
confrontations but I continued to record almost the entire day as everywhere
you looked there was a sight to see.

       My father and I were near the Washington Monument for a good part of
the day. He wanted to listen to the speeches and after that we were going to
start to head home. We started to head towards our hotel, which was the
same direction as the Capitol. Before we left the city I wanted to meet up
with a friend who lives in Virginia and came to DC to spectate the massive
crowds. As my father and I approached the Capitol building, I called my
friend and located him to be back towards the Washington Monument. So I
told my father I was going to wait for my friend. He did not want to wait so
he went off to try and find a friend that he knew was in town as well. After I
met up with my friend, my father and I had planned to meet again to leave
the city. I met my friend a few blocks from the Capitol and he was with his
cousin and a female friend. We continued walking together and noticed
massive crowds forming on the Capitol grounds. It was crowded but still easy
to get towards the front and our curiosity led us there. We still thought things
were normal and this was some type of planned rally but when we got closer
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we realized something was not right. Then we heard a few loud bangs and
smelled something bad in the area. That scared the female that they were
with so my friend quickly got her out and I did not see them again.

      Since one of my main goals for attending DC on Jan 6th was to record
something viral, I decided to stay and record the situation play out. It was
hard to walk away from because what was unfolding just seemed so historic.
At that point I still never imagined anyone would end up inside the building.
Eventually people just started casually and, actually very calmly, walking up
the Capitol steps. By this point on the Capitol grounds behind me was an
insane amount of people and I thought I could get a good angle if I went up
the stairs a bit to record from a higher point. When I got to the top of the
steps I still was under the assumption that I was not doing anything illegal as
multiple law enforcement officers were casually standing around watching
people flow up the stairs. There was even one police officer holding a case of
water bottles and handing them out to people as they were coming up the
stairs. This really gave me a false sense of security that I was not doing
anything wrong.

       I then noticed crowds forming near an entrance of the Capitol. When I
got closer I realized people were actually flooding inside and I continued to
record this. At this point I still had no intention of entering myself. As people,
all with smiles on their faces and positive attitudes continued to flow into the
building, something compelled me to continue my documentation from the
inside of the entrance. So I entered a few feet, stood out of the way, and
continued to record dozens of people entering while signing the National
Anthem. I noticed more action down the hall and seriously felt it was
necessary to record every major situation from that point on. So I made the
decision to follow the crowds even further, with the hopes of filming how this
situation played out. I also recognized a YouTuber filming inside and thought
he would not do anything to risk his career so it must be ok to follow. (I later
realized that he had a media pass and received no charges.) I continued to
follow deeper into the Capitol and at this point I started to regret my decision
as I noticed some police resistance but I was stuck in the crowd and there
was no turning back due to the amount of people coming through the
hallway.
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       I continued to follow the flow of the crowd and ended up near Nancy
Pelosi’s offices. I did not enter her personal office and I did not touch a single
thing while walking through that area. I quickly exited those quarters and the
crowd flow led me to the rotunda which is where I believe most people ended
up. There was no exit so I just decided to wait it out and keep recording.
Eventually the crowd began to form around the interior of the door and that’s
when I noticed the large crowd on the outside. There was a bunch of
commotion out there and I knew I needed to record a shot of that crowd.
When I realized there was an attempt to open the door I got closer in hopes
that I could capture a glimpse of the massive crowd flowing up the steps and
gathering outside the entrance. It all happened so quickly. People began to
scream and push around me and I put my one free hand up to support
myself on the person in front of me. I immediately began to try and free
myself from this crowd that was compressing my entire body and moved
away as soon as possible. In the security video you can see me looking
around to try and squeeze myself out of this situation. Soon after things
began to calm down around the door and I was able to exit. I found my father
outside and we left DC right away.
